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                 EXHIBIT 4
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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

IN RE: PHARMACEUTICAL INDUSTRY                   )   MDL NO. 1456
AVERAGE WHOLESALE PRICE                          )
LITIGATION                                       )   CIVIL ACTION: 01-CV-12257-PBS
                                                 )   Subcategory Docket: 06-CV-11337-PBS
                                                 )
THIS DOCUMENT RELATES TO                         )   Judge Patti B. Saris
                                                 )
U.S. ex rel. Ven-A-Care of the Florida Keys,     )   Magistrate Judge Marianne B. Bowler
Inc. v. Abbott Laboratories, Inc., et al., No.   )
06-CV-11337-PBS and U.S. ex rel. Ven-A-          )
Care of the Florida Keys, Inc. v. Abbott         )
Laboratories, Inc., No. 07-CV-11618-PBS          )

            Declaration of Relator, Ven-A-Care of the Florida Keys, Inc., in Support of the
             Comprehensive Settlement of “AWP Type Claims” for the Federal Share of
                      Medicaid Overpayments Against Abbott Laboratories Inc.


       1.       Ven-A-Care of the Florida Keys, Inc. is the qui tam Relator in both of the above

styled cases brought against Abbott Laboratories Inc. (“Abbott”) pursuant to the federal False

Claims Act (31 U.S.C. § 3729, et. seq.) (collectively, the “Abbott Qui Tam FCA Actions”). The

first action was commenced in June 1995 in the United States District Court for the Southern

District of Florida (the “Florida Civil Action”). In March 2006, the United States intervened

with respect to certain allegations made against Abbott in the Florida Civil Action. At that time,

the intervened claims against Abbott were severed and assigned case number 06-21303-CV-

GOLD (S.D. Fla.). In July 2006, the intervened claims against Abbott were transferred to MDL

and assigned case number 06-CV-11337-PBS. This action, hereafter the “Florida Abbott HPD

Case,” relates to pharmaceutical products manufactured by Abbott’s former Hospital Products

Division.

       2.       The second action was commenced in April 2000 in the United States District

Court for the District of Massachusetts (the “Massachusetts Civil Action”). The Relator
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amended this action in February 2001 to include claims against Abbott relating to

pharmaceutical products manufactured by Abbott’s Pharmaceutical Products Division (“PPD”).

The United States declined to intervene in the claims made against Abbott in the Massachusetts

Civil Action. The Relator has proceeded with the civil prosecution of the claims against Abbott

in the Massachusetts Civil Action on behalf of the United States. In August 2007, the claims

against Abbott in the Massachusetts Civil Action were severed, the severed action against Abbott

was assigned Civil Action No. 07-CV-11618-PBS (the “Massachusetts Abbott PPD Case”), and

Relator filed a severed amended complaint. The severed claims in Civil Action No. 07-CV-

11618-PBS were transferred to MDL 1456.

       3.      The Abbott Qui Tam FCA Actions are both based on the Relator’s disclosures of

information to the United States and allegations that Abbott engaged in a course of conduct

whereby it allegedly knowingly reported falsely inflated prices for some of its drugs in order to

cause the states and federal jointly funded Medicaid Program, and for some drugs the Medicare

Program, to overpay for Abbott’s pharmaceutical products, thus creating a financial inducement

for Abbott’s customers which the Relator alleges Abbott knowingly exploited as a marketing

advantage. The Relator has alleged that Abbott’s conduct violated the False Claims Act (31

U.S.C. § 3729, et. seq.) and the Medicare and Medicaid Anti-kickback Statute (42 U.S.C.

§1320a-7b(b)).

       4.      The Abbott Qui Tam FCA Actions are two of many “AWP Type Cases” included

in this MDL and otherwise filed in other courts around the United States. The Relator has

brought similar AWP Type Cases against Abbott under the qui tam provisions of other state

statutes similar to the federal FCA seeking recovery of alleged Medicaid overpayments.




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       5.       The Relator, Abbott, and the United States have agreed to a resolution that will

encompass both of the Abbott Qui Tam FCA Actions. Although the United States declined to

intervene in the Massachusetts Abbott PPD Case, the Relator cannot effectively settle that case

unless the United States consents to its dismissal with prejudice. The Relator understands that

the requisite consent will be given as part of the parties’ comprehensive resolution of the Abbott

Qui Tam FCA Actions. The Relator has agreed to provide this Declaration in order to facilitate

the resolution of the Massachusetts Abbott PPD Case. The Relator, acting through its current

officer and director, John Lockwood, M.D. and with the knowledge and consent of the Relator’s

President, T. Mark Jones, understands that the representations contained herein will be made part

of the proposed order dismissing the Massachusetts Abbott PPD Case.

       6.      In the Massachusetts Abbott PPD Case, the Relator alleged FCA violations with

respect to various National Drug Codes of the drug, Erythromycin, sold by Abbott’s PPD

Division. The Relator’s allegations in the Massachusetts Abbott PPD Case focus on those drugs

for which the Relator determined that FCA violations could be established and substantial

damages recovered based, in part, on an analysis and drug selection process similar to the

standards that would later be applied by the Court in the present MDL, consistent with the “30%

yardstick expected in the industry” (the “30% yardstick”) and the Court’s finding that “if more

than 50 percent of all sales were made at or about [within 5%] the list price, the list price will not

be deemed fictitious” (the “50% within 5% WAC” test). See In re: Pharmaceutical Industry

Average Wholesale Price Litigation, 491 F. Supp.2d 20, 32, 101-02, 105 (D. Mass. 2007).

       7.      The Relator’s investigations of Abbott’s conduct have included, but have not been

limited to, an investigation of price reporting and related marketing conduct with respect to

Abbott PPD brand drugs for which there was substantial Medicaid reimbursement, on a WAC




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plus or AWP minus basis, during the 1991 thorough 2005 time period. In addition to the

Erythromycin products identified in the Massachusetts Abbott PPD Case, the Relator’s

investigation included those Abbott PPD brand drugs listed on Exhibit A attached hereto. The

Relator carefully analyzed its industry insider pricing and marketing information relating to those

brand drugs reflected on Exhibit A, including, but not limited to, the McKesson/Econolink

pricing data at various points in time, the Amerisource Bergen Echo pricing database at various

points in time, and pricing information from various group purchasing organizations and other

sources.1 To determine whether the WAC and AWP prices would be considered false,

fraudulent, or deceptive consistent with the standards applied by this Court, the Relator

compared the market price information contained in McKesson/Econolink pricing data,

Amerisource Bergen Echo pricing database, and various other sources with the WAC and AWP

information published by First Databank for those drugs listed on attached Exhibit A. In

addition, the Relator further considered its industry insider information in an effort to identify

instances where it considered the manufacturer to have marketed an inflated spread for those

drugs reflected on Exhibit A.




1
 Relator understands that additional NDCs of the drugs listed in Exhibit A were sold in the marketplace. The
Relator analyzed those NDCs for which it had pricing information.


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                  EXHIBIT A

    to Relator Declaration
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NDC                   Drug
00074258611           BIAXIN
00074258660           BIAXIN
00074316313           BIAXIN
00074316350           BIAXIN
00074318813           BIAXIN
00074318850           BIAXIN
00074336811           BIAXIN
00074336860           BIAXIN
00074338660           BIAXIN
00074316511           BIAXIN XL
00074316541           BIAXIN XL
00074316560           BIAXIN XL
00074166413           CARTROL
00074166513           CARTROL
00074602513           CYLERT
00074605713           CYLERT
00074607313           CYLERT
00074608813           CYLERT
00074156410           DEPACON
00074568113           DEPAKENE
00074568216           DEPAKENE
00074621211           DEPAKOTE
00074621213           DEPAKOTE
00074621411           DEPAKOTE
00074621413           DEPAKOTE
00074621453           DEPAKOTE
00074621511           DEPAKOTE
00074621513           DEPAKOTE
00074621553           DEPAKOTE
00074821213           DEPAKOTE
00074712611           DEPAKOTE ER
00074712613           DEPAKOTE ER
00074611411           DEPAKOTE SPRINKLE
00074611413           DEPAKOTE SPRINKLE
00074337704           DESOXYN
00074694104           DESOXYN
00074694808           DESOXYN
00074695907           DESOXYN
00074379401           DICUMAROL
00074683801           ENDURONYL
00074685401           ENDURONYL FORTE
00074332213           HYTRIN
00074332311           HYTRIN
00074332313           HYTRIN
00074332413           HYTRIN
00074332511           HYTRIN
00074332513           HYTRIN
00074380511           HYTRIN
00074380513           HYTRIN
00074380611           HYTRIN
00074380613           HYTRIN
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00074380711           HYTRIN
00074380713           HYTRIN
00074380811           HYTRIN
00074380813           HYTRIN
00074395646           KALETRA
00074395977           KALETRA
00074780411           K-TAB
00074780413           K-TAB
00074780419           K-TAB
00074780425           K-TAB
00074314201           NEMBUTAL
00074311401           NEMBUTAL SODIUM
00074314801           NEMBUTAL SODIUM
00074315011           NEMBUTAL SODIUM
00074316401           NEMBUTAL SODIUM
00074377804           NEMBUTAL SODIUM
00074377805           NEMBUTAL SODIUM
00074194063           NORVIR
00074663322           NORVIR
00074949202           NORVIR
00074376930           OMNICEF
00074376960           OMNICEF
00074377113           OMNICEF
00074377160           OMNICEF
00074615113           OMNICEF
00074615160           OMNICEF
00074338913           PCE
00074629060           PCE
00074373513           PROSOM
00074373613           PROSOM
00074269913           TRANXENE SD
00074299713           TRANXENE SD
00074438913           TRANXENE T-TAB
00074439013           TRANXENE T-TAB
00074439113           TRANXENE T-TAB
00074400990           TRICOR
00074401390           TRICOR
00074434290           TRICOR
00074641590           TRICOR
00074644790           TRICOR
